     Case 5:20-cv-00683-VEB Document 26 Filed 10/27/21 Page 1 of 1 Page ID #:1277



 1

 2

 3

 4

 5

 6
                                 UNITED STATES DISTRICT COURT
 7
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
 8

 9
     Edward D. M.                                     Case No.: 5:20-cv-00683-VEB
10

                    Plaintiff;                        ORDER AWARDING EQUAL ACCESS TO
11                                                    JUSTICE ACT ATTORNEYS’ FEES AND
            vs.                                       EXPENSES PURSUANT TO 28 U.S.C. §
12
                                                      2412(d)
13
     Kilolo Kijakazi, Acting Commissioner
     of Social Security;
14
            Defendant.
15

16

17
            Based upon the parties’ Stipulation for the Award and Payment of Equal Access to
18
     Justice Act Fees and Expenses:
19
            IT IS ORDERED that fees and expenses in the amount of Four Thousand Five Hundred
20
     Thirty dollars ($4,530.00) as authorized by 28 U.S.C. § 2412 be awarded subject to the terms of
21
     the Stipulation.
22

23
     DATED: October 27, 2021                    /s/Victor E. Bianchini
24                                              VICTOR E. BIANCHINI
                                                UNITED STATES MAGISTRATE JUDGE
25

26

27

28




                                 Edward D.M. v. Acting Commissioner
